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13
                         UNITED STATES DISTRICT COURT
14                     SOUTHERN DISTRICT OF CALIFORNIA
15
16   TODD HALL, KEVIN BRANCA, and    ) Case No. 3:19-cv-01715-JO-AHG
     GEORGE ABDELSAYED individually  )
17                                   ) CLASS ACTION
     and on behalf of all others similarly
                                     )
18   situated,                       )
                       Plaintiffs,   ) DECLARATION
                                       GEORGE
                                                         OF PLAINTIFF
                                                  ABDELSAYED     IN
19                                   ) SUPPORT OF PLAINTIFFS’
20                                   ) MOTION FOR CLASS
     v.                              ) CERTIFICATION AND TO
21                                   ) APPOINT CLASS COUNSEL
     MARRIOTT INTERNATIONAL, INC., a )
22   Delaware corporation;           )
                                     ) Date: July 27, 2022
23                                   ) Time: 9:30 a.m.
                      Defendant.     )
24
                                     ) Ctrm: 4C
25                                   ) Judge: Hon. Jinsook Ohta
                                     )
26                                   )
                                     )
27                                   )
28                                   )
                                     )
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                           Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG
         DECLARATION OF PLAINTIFF GEORGE ABDELSAYED IN SUPPORT OF PLAINTIFFS’ MOTION FOR
        CLASS CERTIFICATION, TO APPOINT CLASS REPRESENTATIVES, AND APPOINT CLASS COUNSEL
 1         I, George Abdelsayed, hereby declare as follows:
 2         1.      I am a named plaintiff and proposed class representative in the matter
 3   styled Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG that is
 4   currently pending before this Court.
 5         2.      I am a citizen of the State of California and I reside in Vista San Ysidro,
 6   California.
 7         3.      I submit this declaration in support of Plaintiffs’ Motion for Class
 8   Certification, to Appoint Class Representatives, and Appoint Class Counsel. I make
 9   this declaration based on my own personal knowledge and if called to testify, I could
10   and would competently testify to the matters contained herein.
11         4.      On January 12, 2022 and January 25, 2022, Defendant Marriott
12   International, Inc. (“Defendant” or “Marriott”) took my deposition. Attached hereto
13   as Exhibit B are true and correct copies of excerpts from my deposition transcript.
14         5.      During my deposition, I explained that I stayed at the Coronado Island
15   Resort and Spa located at 2000 2nd Street, Coronado California 92118 in July 2020
16   and was charged a resort fee:
17         Q:      And then 30 days later you had identified the Coronado Resort. And it
18                 says you stayed at this resort between July 24th and the 26th of 2020.
19                 Do you see that?
20         A:      Uh-huh.
21         Q:      It says: Plaintiff was not informed of the resort fee until check-in.·
22                 Plaintiff was charged 25 a night for both nights of stay. Do you see that?
23         A:      Yes.
24         ...
25         Q:      This was your stay at the Coronado, correct?
26         A:      Scroll it down.
27         Q:      I’m sorry.
28         A:      There we go. Yup.
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 1         Q:    And that was on the 24th -- July 24th, 2020, and then you departed on
 2               the 26th, correct?
 3         A:    Correct.
 4   See Ex. B [Abdelsayed Dep. Tr. at 61:24 – 62:5; 87:12-20].
 5         6.    I explained that I booked my room at the Coronado Island Resort and
 6   Spa from Marriott’s website or mobile app:
 7         Q:    And, again, as we sit here today and now having gone back and tried to
 8               look for documentation on the booking process, you still cannot recall
 9               whether you booked on the Bonvoy app or on Marriott.com?
10               [Objection]
11         A:    Correct.
12   See Ex. B [Abdelsayed Dep. Tr. at 208:16-22].
13         7.    I read and relied on Marriott’s representations when booking the hotel
14   room, including the quoted room price and the fact that the mandatory resort fee was
15   not properly disclosed:
16         Q:    What led you to be a plaintiff in this case?
17         A:    Because it’s not fair that you book a hotel expecting to pay a certain
18               price, get there, and the price is higher.
19         ...
20         Q:    When you provided this answer, you simply don’t know whether there
21               may have been reference to a resort fee as you went through booking
22               process?
23               [Objection]
24         A:    I’m pretty sure there wasn’t.
25         ...
26         Q:    And again, just so we’re clear, as we go through some documents this
27               evening and tomorrow, it’s your testimony that at no time do you recall
28               being informed of a resort fee during the booking process?
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 1     A:     Excuse me? That is correct.
 2     Q:     Okay. And the first time you learned about it is when you checked in.
 3            Was that verbally or in writing?
 4     A:     Both.
 5     Q:     They provided you document?
 6     A:     Yes.
 7     Q:     Do you have that document?
 8     A:     No. Actually, I take it back. It’s verbal, and then they give you the folio
 9            at end with all charges.
10     Q:     Did they give you anything else that described resort fee and/or
11            amenities?
12            [Objection]
13     A:     No.
14     ...
15     Q:     And you also received notification of your resort fee; correct?
16     A:     At the end. Not on the front with the full price.
17     Q:     Did you see it, sir?
18     A:     Not at the time. No.
19     ...
20     Q:     All right. So you obviously knew when you arrived at this hotel that
21            they were charging you a resort fee.
22     A:     Once I checked in.
23     Q:     And that’s because you didn’t read it during -- when you got this e-
24            mail.
25     A:     Sure.
26     Q:     And you may not have seen it during the booking process?
27     A:     I’m sorry. What?
28     Q:     And you may not have seen reference to it during the booking process.
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 1         A:    Correct.
 2         ...
 3         Q:    You indicated that when you booked your room at the Coronado, you
 4               didn’t recall seeing any reference to a resort fee; correct?
 5         A:    Yeah --
 6               [Objection]
 7         A:    Yes.
 8         ...
 9         Q:    So your claim, again, in this matter is that you were not aware of the
10               resort fee until you checked in; correct?
11         A:    Correct.
12   See Ex. B [Abdelsayed Dep. Tr. at 50:2-5; 109:23 – 110:2; 117:1-25; 176:25 – 177:5;
13   189:6-18; 196:7-12; 238:3-6].
14         8.    I purchased hotel rooms from Defendant in reliance on the false and
15   deceptive bargain and bait advertising and buried resort fees, including listing the
16   resort fee under the ‘USD Taxes and fees’ category:
17         Q:    Okay. And do you know how much the price changed from the first
18               page to when you finally booked the total price?
19               [Objection]
20         A:    It was the room rate plus taxes, whatever that was.
21         Q:    Do you know how it changed, the amount itself?
22         A:    No.
23               [Objection]
24         Q:    I’m sorry?
25         A:    Not off top of my head.
26         Q:    Okay. And you didn’t look to see why it changed, correct?
27         A:    It said taxes.
28         Q:    My question is: Did you look to see why it had changed?
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 1     A:     Yes, because of the taxes.
 2     Q:     Okay. And you looked to see what the taxes were?
 3     A:     Yes.
 4     ...
 5     A:     Can you go back one page?
 6     Q:     I can. Yeah.
 7     A:     See, if and when I booked --
 8     Q:     Yes, sir.
 9     A:     Scroll up. -- I would have seen that figure, 195.01.
10     Q:     Okay.
11     A:     Nowhere in between there does it show a resort fee or anything like
12            that. So that’s probably what I would be looking at.
13     Q:     The 195.01?
14     A:     Yes.
15     Q:     Right.
16     A:     It says the nights and then the taxes. They should put “Resort Fee” in
17            there somewhere. You shouldn’t have to have a drop-down menu to see
18            it.
19     Q:     Okay. That’s your position, that there shouldn’t be a drop-down.
20     A:     Correct.
21     Q:     So you’re not saying there’s anything misleading about Marriott’s
22            website. You just believe it should be in as part of the drop-down;
23            correct?
24            [Objection]
25     A:     It should be -- What’s the word I’m looking for? It should be, like, big
26            font like that one, so it’s noticeable.
27     Q:     Okay. And before you even get to that page, the page before, you see
28            where it’s actually listed in a different color font; correct?
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 1         A:     But it’s smaller. If you look, your eyes go straight to the big font, not
 2                the small box.
 3   See Ex. B [Abdelsayed Dep. Tr. at 100:3-25; 218:11 – 219:21].
 4         9.     I testified during my deposition that it is unclear what amenities are
 5   even included in the resort fee:
 6         Q:     Did you use the amenities?
 7         A:     Which amenities?
 8         Q:     Things that come with the resort fee?
 9         A:     Yeah, which ones? I mean, there’s some we might have used; some we
10                didn’t.
11         Q:     Do you know as you sit here today?
12         A:     We went to the pool, and that’s probably about it.
13         Q:     Okay. Do you know what amenities were provided?
14                [Objection]
15         A:     No.
16   See Ex. B [Abdelsayed Dep. Tr. at 118:1-12].
17         10.    I would, and intend to, book Marriott hotels again in the future if the
18   website accurately listed the mandatory resort fees and explained what were
19   included in the resort fees:
20         Q:     Now, is it basically your contention or position that you would rather
21                be advised of the resort fee during the booking process than upon
22                arriving at the hotel?
23         A:     Yes.
24   See Ex. B [Abdelsayed Dep. Tr. at 261:5-9].
25         11.    I have remained in contact with my counsel at Bursor & Fisher and the
26   Law Offices of Ronald A. Marron throughout the course of this litigation and have
27   kept informed of its status. Based on my interactions with my counsel, I believe my
28   counsel has fairly and adequately represented myself and the proposed classes and
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 1   will continue to do so.
 2         12.    I understand the responsibilities expected of a Class Representative,
 3   which include acting on behalf of the Class’s best interests, staying involved and
 4   informed about the case, and actively participating in it including making myself
 5   available for trial, and I am able to fulfill such duties.
 6         13.    It is my understanding that all the other proposed class members have
 7   also booked Marriott hotels from the Marriott website or the Marriott app that had
 8   undisclosed mandatory resort fees. I therefore respectfully request that the Court
 9   certify a class of all persons who booked Marriott hotels through the Marriott
10   website or Marriott app in the United States and California and were charged a resort
11   fee during the class period.
12
13         I declare under penalty of perjury under the laws of the United States that the
14   foregoing is true and correct.
15
16         Executed on April 6, 2022 in San Diego, California.
17
18
19                                            _________________________
20                                            George Abdelsayed
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